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                                      March 20, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

       Mr. Combs respectfully submits this letter to supplement his motion to suppress
evidence (ECF 159) and to alert this Court to a recent disclosure by the government. One
portion of Mr. Comb’s motion focused on
       (ECF 160 at 12-13.) The government had claimed in its warrant applications that

                                             . The actual text messages between the two,
however,                                                          .

       In its opposition to the motion to suppress, the government claimed ignorance. It
argued that “the Government did not have this full thread until months after the challenged
warrants were issued,” which they claimed was dispositive to the argument. (ECF 171 at
20.)

        On March 17, 2025 however, the government produced discovery from
  which included multiple screenshots including fuller context of the messages. (Ex. A.)
The government sent the defense correspondence in which it revealed that it had these
screenshots “back in February 2024.” The government explained: “We recently realized
that the screenshots had not been part of one our prior Rule 16 productions to you and
promptly produced it to you. We apologize for this oversight. Note that the content in the
screenshots was otherwise provided to you in warrant affidavits and
phone.”

        Moreover, the fact that the government received screenshots demonstrates that the
government was in contact with          and could have obtained whatever additional context
was required. And given that investigators had requested and received these specific
screenshots from             , it is utterly implausible that the warrant affiant himself—the
lead investigator on the case—had not seen them. The full context should have been
included. Instead, the government plucked a few bits out of context and included those in
its warrant applications.
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      Thank you for your consideration.

                                              Respectfully submitted,




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cc: government counsel (via email)




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